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 1                              UNITED STATES DISTRICT COURT

 2              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 3
     EMERSON EQUITY, LLC,                           Case No. 4:22-CV-06037-HSG
 4
           Plaintiff/Counter-Defendant,             (Assigned to Hon. Haywood S. Gilliam, Jr.,
 5
                                                    Courtroom 2, Oakland Courthouse)
 6 v.

 7 FORGE UNDERWRITING LIMITED, and                  ORDER GRANTING STIPULATED
   unknown entity; VOLANTE                          REQUEST TO EXTEND
 8 INTERNATIONAL LIMITED, an unknown                SCHEDULING ORDER
 9 entity; CERTAIN UNDERWRITERS AT
   LLOYD’S, LONDON SUBSCRIBING TO
10 SECURITIES BROKER/DEALER
   PROFESSIONAL LIABILITY INSURANCE
11 POLICY NO. B074021F3121, an unknown
   entity; and DOES 1-10 inclusive,
12

13         Defendants/Counter-Plaintiffs.

14

15        THIS MATTER is before the Court on Plaintiff Emerson Equity, LLC’s (“Plaintiff”) and

16 Defendants Forge Underwriting Limited, Volante International Limited, and Lloyd’s syndicate AUL

17 1274’s (collectively, “Defendants”), Stipulated Request to Extend Scheduling Order. Good cause

18 appearing.

19        THE STIPULATION IS HEREBY GRANTED.

20        The Court hereby sets the Case Schedule as follows:

21                                 Event                                    Deadline
          Close of Fact Discovery                               September 27, 2024
22        Plaintiff’s Expert Disclosures and Report             September 27, 2024
23        Defendants’ Rebuttal Expert Disclosures and Report    October 25, 2024
          Close of Expert Discovery                             November 15, 2024
24        Dispositive Motion Hearing Deadline                   January 16, 2025, at 2:00 p.m.
          Pretrial Conference                                   April 15, 2025, at 3:00 p.m.
25        Jury Trial (4 days)                                   May 5, 2025, at 8:30 a.m.
26
                 7/1/2024
27 DATED: ________________________                  ______________________________________
                                                      The Honorable Haywood S. Gilliam, Jr.
28                                                    United States District Judge

             ORDER GRANTING STIPULATED REQUEST TO EXTEND SCHEDULING ORDER
                                    4:22-CV-06037-HSG
